Court of Appeals
of the State of Georgia

                                         ATLANTA,____________________
                                                  August 27, 2024

The Court of Appeals hereby passes the following order:

A25D0028. SEAN CROSSWHITE v. KRISTI YAKE.

      The parties were divorced in 2014. In 2023, Sean Crosswhite filed a petition
to modify custody, parenting time, and child support, and a petition for contempt.
Following a hearing, the court dismissed the petition to modify custody, parenting
time, and child support, denied the petition for contempt, and awarded Kristi Yake
attorney’s fees. Crosswhite then timely filed this application for discretionary review.1
      Under OCGA § 5-6-34 (a) (11), direct appeals are permitted from “[a]ll
judgments or orders in child custody cases awarding, refusing to change, or modifying
child custody or holding or declining to hold persons in contempt of such child
custody judgment or orders.” Thus, when the appeal arises from a child custody
modification case, and the appellant raises child custody issues, the order is directly
appealable. See Voyles v. Voyles, 301 Ga. 44, 46-47 (799 SE2d 160) (2017); Pappas v.
Stewart, 369 Ga. App. 40, 41 (1) (892 SE2d 59) (2023). Because Crosswhite seeks to
challenge the trial court’s child custody and contempt ruling, the order here may be
appealed directly. See id. Moreover, because Crosswhite’s direct appeal of the
modification order is proper, he may raise on appeal “all judgments, rulings, or orders
rendered in the case . . . which may affect the proceedings below[,]” even if those
orders are not otherwise subject to direct appeal. OCGA § 5-6-34 (d). See also Murphy
v. Murphy, 328 Ga. App. 767, 768 (1) (b) (759 SE2d 909) (2014).


      1
         We granted an extension of time, allowing Crosswhite until August 12, 2024,
to file his application. See Case No. A24E0081 (July 10, 2024).
      We will grant a timely discretionary application if the lower court’s order is
subject to direct appeal. See OCGA § 5-6-35 (j). Accordingly, this application is
hereby GRANTED. Crosswhite shall have ten days from the date of this order to file
a notice of appeal with the trial court. The clerk of the trial court is DIRECTED to
include a copy of this order in the record transmitted to the Court of Appeals.

                                       Court of Appeals of the State of Georgia
                                         Clerk’s Office, Atlanta,____________________
                                                                     08/27/2024
                                                  I certify that the above is a true extract from
                                       the minutes of the Court of Appeals of Georgia.
                                                 Witness my signature and the seal of said court
                                       hereto affixed the day and year last above written.


                                                                                         , Clerk.
